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AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                            for the
                                                      District of Oregon

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                                                              )
                                                              )
 Isaacky Gavrilovich Sharipoff                                )
                            Plaintif.f(s)
                                                              )
                                                              )
                                 V.
                                                              )
                                                                      Civil Action No. 6: 18-cv-1659--:.~        lv\K
                                                              )
                                                              )
                                                              )
        Jason Myers et al                                     )
                           Defendant(s)                       )

                                                SUMMONS IN A CML ACTION

To: (Defendant's name and address)
                                            (Dep) C.Crites
                                            4000 ~umsville Hwy SE
                                            Salem, Oregon (97317).



        · A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an_ officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                      Isaacky Gavrilovich Sharipoff
                                      PO Box# 514
                                      Woodburn, Oregon (97071).



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




Date:     l2-'2 i~ LO\~
